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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CIBC Bank USA f/k/a The PrivateBank and       )
Trust Company, as Administrative Agent to all )
Lenders,                                      )
                                              ) Civil Action No. 18-cv-03964
                      Plaintiff,              )
                                              )
               v.                             ) Judge John Z. Lee
                                              )
JH Portfolio Debt Equities, LLC; JH Portfolio )
Debt Equities 2, LLC; JH Portfolio Debt       )
Equities 4, LLC; and JH Reviver LLC,          )
                                              )
                      Defendants.             )

     PLAINTIFF’S MOTION FOR RECEIVER TO TURN OVER EXCESS FUNDS TO
        PLAINTIFF TO BE APPLIED TO REDUCE THE OUTSTANDING DEBT

         Plaintiff, CIBC Bank USA f/k/a The PrivateBank and Trust Company, as Administrative

Agent to the Lenders (“Plaintiff”), with the agreement of Ronald F. Greenspan, not individually,

but solely as the receiver (“Receiver”), moves this Court for an order permitting the Receiver to

turn over excess funds from the Receiver’s account to Plaintiff on a monthly basis to be applied

to reduce the outstanding debt owed by Defendants to Plaintiff. In support of its motion, Plaintiff

states as follows:

         1.     On February 8, 2019, the Court entered the Stipulated Order for Immediate

Appointment of Receiver (“Receivership Order”) appointing the Receiver to be the receiver over

the Receivership Property.1 (Dkt. No. 91.)

         2.     The subject loan is in default. Defendants jointly and severally owe Plaintiff at

least $179,594,076.70 as of March 1, 2019, plus accrued and accruing interest, attorneys’ fees

and costs, and any subsequent advances incurred by Plaintiff as a result of Defendants’ defaults.

1
    Undefined terms used herein are defined as in the Receivership Order.
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       3.      As of the morning of March 18, 2019, the Receiver was holding $6,412,676.42

across his three designated receivership accounts (“Accounts”). The Receiver has further advised

Plaintiff that he believes that he should maintain a $2,500,000 reserve in his accounts (the

“Reserve Amount”) in order to insure proper preservation and maintenance of the Receivership

Property. The Receiver believes the Reserve Amount is sufficient to properly preserve and

maintain the Receivership Property, but reserves the right to adjust the Reserve Amount in his

discretion and without further order of the Court, but only with the consent of Plaintiff which

consent may not be unreasonably withheld. The Receiver expects that ordinary receipts from the

Receivership Property will generally cover the expenses of the Receivership; however, in the

event of an interruption of such funds, the Reserve Amount will enable him to cover the

Receivership expenses and fees on a temporary basis, as well as the cost of preserving and

maintaining the Receivership Property without the need of additional advances from Plaintiff.

The Reserve Amount will be revised upward or downward after Plaintiff’s review and approval

of a budget, including a reasonable contingency, provided by the Receiver.

       4.      Accordingly, Plaintiff hereby requests that this Court enter an order authorizing

the Receiver to turn over to Plaintiff, on a monthly basis on or before the last business day of

each month and continuing monthly until further order of court, the book balance of the Receiver

Accounts (that is, all funds the Receiver has in the Accounts as of the last business day of the

applicable month less all outstanding checks) that are in in excess of the Reserve Amount.2

       5.      Plaintiff further requests that it be authorized to apply the funds it receives from

the Receiver against the debt secured by the Plaintiff’s Collateral.

       6.      The Receiver has no objection to this motion.

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  Plaintiff requests that the initial distribution of excess collateral take place within two business
days of the entry of the Court’s order on the instant motion.

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       WHEREFORE, Plaintiff and the Receiver request that the Court enter an

order: (1) authorizing the Receiver to distribute the net book balance of the funds held in the

Accounts in excess of the Reserve Amount to Plaintiff within two business days of the entry of

this Order, which funds shall be credited against the amounts due and owing by Defendants to

Plaintiff; (2) authorizing the Receiver to distribute the net book balance of the funds held in the

Accounts in excess of Reserve Amount on the last business day of each full month (commencing

in April 2019) to Plaintiff, which funds shall be credited against the amounts due and owing by

Defendants to Plaintiff; (3) authorizing the Receiver to modify the Reserve Amount without

further order of the Court, but with the consent of the Plaintiff, which consent may not be

reasonably withheld; and (4) granting any such other and further relief as the Court deems just

and proper.

Dated: March 22, 2019                        Respectfully submitted,


                                          By: /s/ Mark A. Silverman
                                             One of the Attorneys for Plaintiff, CIBC Bank USA
                                             f/k/a The PrivateBank and Trust Company, as
                                             Administrative Agent to all Lenders
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